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Official Form 3180W (12/15)
                                                        United States Bankruptcy Court
                                                         Western District of Michigan
                                                            One Division Ave., N.
                                                                 Room 200
                                                           Grand Rapids, MI 49503


 IN RE: Debtor (name used by the debtor in the last 8 years, including
 married, maiden, trade, and address):

           Andrea J. Averill                                                    Case Number 14−04375−jtg
           13396 Lime Lake Dr.
           Sparta, MI 49345−0186                                                Chapter 13
           SSN: xxx−xx−4738
                                                                                Honorable John T. Gregg
                                                                  Debtor



                                                     Order of Discharge
IT IS ORDERED: A discharge under 11 U.S.C. § 1328(a) is granted to:

         Andrea J. Averill
         fka Andrea J. Crane, fka Andrea J. Wagenmaker

                                                                            By the court:



         DATE: June 14, 2018




Explanation of Bankruptcy Discharge in a Chapter 13 Case

This order does not close or dismiss the case.                               Most debts are discharged
                                                                             Most debts are covered by the discharge, but not all.
                                                                             Generally, a discharge removes the debtors' personal
                                                                             liability for debts provided for by the chapter 13 plan.
                                                                             In a case involving community property: Special rules
                                                                             protect certain community property owned by the debtor's
                                                                             spouse, even if that spouse did not file a bankruptcy
                                                                             case.


                                                                                         For more information, see page 2




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Some debts are not discharged                                Creditors cannot collect discharged debts
Examples of debts that are not discharged are:               This order means that no one may make any
                                                             attempt to collect a discharged debt from the
     ♦ debts that are domestic support                       debtors personally. For example, creditors
       obligations;                                          cannot sue, garnish wages, assert a deficiency,
                                                             or otherwise try to collect from the debtors
                                                             personally on discharged debts. Creditors
     ♦ debts for most student loans;                         cannot contact the debtors by mail, phone, or
                                                             otherwise in any attempt to collect the debt
                                                             personally. Creditors who violate this order can
     ♦ debts for certain types of taxes specified in         be required to pay debtors damages and
       11 U.S.C. §§ 507(a)(8)( C), 523(a)(1)(B),             attorney's fees.
       or 523(a)(1)(C) to the extent not paid in full        However, a creditor with a lien may enforce a
       under the plan;                                       claim against the debtors' property subject to
                                                             that lien unless the lien was avoided or
     ♦ debts for restitution, or damages, awarded            eliminated. For example, a creditor may have
       in a civil action against the debtor as a             the right to foreclose a home mortgage or
       result of malicious or willful injury by the          repossess an automobile.
       debtor that caused personal injury to an
       individual or the death of an individual; and         This order does not prevent debtors from
                                                             paying any debt voluntarily. 11 U.S.C. § 524(f).

     ♦ debts for death or personal injury caused
       by operating a vehicle while intoxicated.
     ♦ debts that the bankruptcy court has                    This information is only a general
       decided or will decide are not discharged              summary of a chapter 13 discharge; some
       in this bankruptcy case;                               exceptions exist. Because the law is
                                                              complicated, you should consult an
                                                              attorney to determine the exact effect of
     ♦ debts for most fines, penalties, forfeitures,          the discharge in this case.
       or criminal restitution obligations;


     ♦ some debts which the debtors did not
       properly list;


     ♦ debts provided for under 11 U.S.C. §
       1322(b)(5) and on which the last payment
       or other transfer is due after the date on
       which the final payment under the plan
       was due;


     ♦ debts for certain consumer purchases
       made after the bankruptcy case was filed if
       obtaining the trustee's prior approval of
       incurring the debt was practicable but was
       not obtained;



In addition, this discharge does not stop creditors
from collecting from anyone else who is also liable
on the debt, such as an insurance company or a
person who cosigned or guaranteed a loan.




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